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United States District Court
Central District of California

** ADDENDUM TO J&C DATED 04/02/08**

 

 

UNITED STATES OF AMERICA vs. Docket No. CR00-1220-SVW
Defendant OZINE BRIDGEFORTH Social SecurityNo. 9 4 4 7
akas: _Theus, Zeake: “Zeke” (Last 4 digits)

 

JUDGMENT AND PROBATION/COMMITMENT ORDER

 

 

MONTH DAY YEAR
In the presence of the attorney for the government, the defendant appeared in person on this date. 09 21 2009

COUNSEL | WITH COUNSEL Thomas Kielty

(Name of Counsel)

PLEA | x] GUILTY, and the court being satisfied that there is a factual basis for the plea. [ ] NOLO [ NOT
CONTENDERE GUILTY

FINDING | There being a finding/verdict of [ x GUILTY, defendant has been convicted as charged of the offense(s) of:
Conspiracy to Distribute Cocaine Base in violation of 21 USC §846, 841(a)(1), 851 as charged in Count 1; Distribution
_ of Cocaine Base in violation of 21 USC §841(a)(1), 851 as charged in Counts 2 and 3 of the Indictment.
JUDGMENT] The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ | contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
COMM Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
ORDER custody of the Bureau of Prisons to be imprisoned for a term of:

 

 

 

 

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 5 years.

All other terms outlined in the attached Judgment and Commitment Order dated April 2, 2008 are to remain the same.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.

Vax09 vf ae

Date STEPHEN V. WILSON, U. S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

Clerk, U.S. District Court

4[aalo4 By LL. Le

Filed Date Andrea Keifer, Deputy Clerk

 

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OZINE BRIDGEFORTH

Docket No.:

CRO0-1220-SVW

 

 

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment:

1. The defendant shall not commit another Federal, state or local crime; 10. the defendant shall not associate with any persons engaged in criminal

2. the defendant shall not leave the judicial district without the written activity, and shall not associate with any person convicted of a felony
permission of the court or probation officer; unless granted permission to do so by the probation officer;

3. the defendant shall report to the probation officer as directed by the Ll. the defendant shall permit a probation officer to visit him or her at any
court or probation officer and shall submit a truthful and complete time at home or elsewhere and shall permit confiscation of any
written report within the first five days of each month; contraband observed in plain view by the probation officer;

4. the defendant shall answer truthfully all inquiries by the probation 12. the defendant shall notify the probation officer within 72 hours of
officer and follow the instructions of the probation officer; being arrested or questioned by a law enforcement officer;

5. the defendant shall support his or her dependents and meet other 13. the defendant shall not enter into any agreement to act as an informer
family responsibilities; or a special agent of a law enforcement agency without the permission

6. the defendant shall work regularly at a lawful occupation unless of the court;
excused by the probation officer for schooling, training, or other 14. as directed by the probation officer, the defendant shall notify third
acceptable reasons; parties of risks that may be occasioned by the defendant’s criminal

7. the defendant shall notify the probation officer at least 10 days prior record or personal history or characteristics, and shall permit the
to any change in residence or employment; probation officer to make such notifications and to conform the

8. the defendant shall refrain from excessive use of alcohol and shall not defendant’s compliance with such notification requirement;
purchase, possess, use, distribute, or administer any narcotic or other 15. the defendant shall, upon release from any period of custody, report
controlled substance, or any paraphernalia related to such substances, to the probation officer within 72 hours;
except as prescribed by a physician; 16. and, for felony cases only: not possess a firearm, destructive device,

9. the defendant shall not frequent places where controlled substances or any other dangerous weapon.

 

 

 

 

balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

are illegally sold, used, distributed or administered;

The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15") day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
applicable for offenses completed prior to April 24, 1996.

If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the

The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
_ Tesidence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(6)(1)(F).

The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the

defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
§3563(a)(7).

Payments shall be applied in the following order:

1. Special assessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this sequence:
Private victims (individual and corporate),
Providers of compensation to private victims,
The United States as victim;
3. Fine;
4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
5. Other penalties and costs.

 

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USA vs. _OZINE BRIDGEFORTH Docket No.: _CR00-1220-SVW

 

SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
any line of credit without prior approval of the Probation Officer.

The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
business accounts, shall be disclosed to the Probation Officer upon request.

The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.

 

RETURN

I have executed the within Judgment and Commitment as follows:

Defendant delivered on to

 

 

Defendant noted on appeal on

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined on

 

Defendant delivered on to

 

 

at

 

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

 

 

United States Marshal
By
Date Deputy Marshal
CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

Clerk, U.S. District Court
By

 

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USA vs. _OZINE BRIDGEFORTH Docket No.: —CRO0-1220-SVW

 

 

 

Filed Date Deputy Clerk

 

FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)

 

 

Defendant Date

 

 

U. S. Probation Officer/Designated Witness Date

 

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United States District Court

Central District of California
**RE-SENTENCING**

 

 

UNITED STATES OF AMERICA vs. Docket No. CRO0-1220-SVW
Defendant Ozine Bridgeforth Social Security No. 9. 4 4 —7
akas: _THEUS, Zeake; “Zeke” (Last 4 digits)

 

JUDGMENT AND PROBATION/COMMITMENT ORDER

 

 

MONTH DAY YEAR
In the presence of the attorney for the government, the defendant appeared in person on this date. 03 20 2008

 

 

 

COUNSEL WITH COUNSEL Thomas W. Kielty, appointed

(Name of Counsel)

PLEA | [| GUILTY, and the court being satisfied that there is a factual basis for the plea. [ ] NOLO [ ] NOT
CONTENDERE GUILTY

FINDING There being a finding/verdict of [x GUILTY, defendant has been convicted as charged of the offense(s) of:

Conspiracy to Distribute Cocaine Base in violation of 21 USC 846, 841(a) (1), 851 as charged in Count 1; Distribution
of Cocaine Base in violation of 21 USC 841 (a) (1), 851 as charged in Counts 2 and 3 of the Indictment
JUDGMENT] The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause
AND PROB/ | tothe contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
COMM that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
ORDER custody of the Bureau of Prisons to be imprisoned for a term of: ONE HUNDRED FIFTY-ONE (151) MONTHS

 

This term consists of 151 months on each of Counts 1, 2, and 3 of the Indictment, to be served concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 10 years under the
following terms and conditions. This term consists of 10 years on each of Counts 1, 2, and 3, all such terms to run concurrently.

1. The defendant shall comply with the rules and regulations of the U. S. Probation Office and General Order 318;

2. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, not to exceed eight tests per
month, as directed by the Probation Officer;

3. The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
urinalysis, breath, and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using illicit
drugs and alcohol, and abusing prescription medications during the period of supervision;

4. During the period of community supervision the defendant shall pay the special assessment in accordance with
this judgment's orders pertaining to such payment;

5. The defendant may not associate with anyone known to him to be a Mob Piru Blood gang member or persons
associated with the Mob Piru Blood gang, with the exception of his family members. He may not knowingly wear, display, use or
possess any Mob Piru Blood gang insignias, emblems, badges, buttons, caps, hats, jackets, shoes, or any other clothing, which
evidences affiliation with the Mob Piru Blood gang, and may not knowingly display any Mob Piru Blood signs or gestures;

6. As directed by the Probation Officer, the defendant shall not be present in any area known to him to be a location
where members of the Mob Piru Blood gang meet and/or assemble; and

It is ordered that the defendant shall pay to the United States a special assessment of $300, which is due immediately.

Pursuant to U.S.S.G. § 5E1.2(e), all fines are waived as it is found that the defendant does not have the ability to pay a

 

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fine.

Defendant is advised of his rights on appeal.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke

supervision for a violation occurring during the supervision period.

March 27, 2008

 

 

Date STEPHEN V. WILSON, U. S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

Sherri R. Carter, Clerk

April 2, 2008 By

/s/

 

Filed Date

Paul M. Cruz, Deputy Clerk

 

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment:

|. | The defendant shall not commit another Federal, state or local crime; 10. the defendant shall not associate with any persons engaged in criminal

2. the defendant shall not leave the judicial district without the written activity, and shall not associate with any person convicted of a felony
permission of the court or probation officer; unless granted permission to do so by the probation officer;

3. the defendant shall report to the probation officer as directed by the 11. the defendant shall permit a probation officer to visit him or her at any
court or probation officer and shall submit a truthful and complete time at home or elsewhere and shall permit confiscation of any
written report within the first five days of each month; contraband observed in plain view by the probation officer;

4. the defendant shall answer truthfully all inquiries by the probation 12. the defendant shall notify the probation officer within 72 hours of
officer and follow the instructions of the probation officer; being arrested or questioned by a law enforcement officer;

5. the defendant shall support his or her dependents and meet other 13. the defendant shall not enter into any agreement to act as an informer
family responsibilities; or a special agent of a law enforcement agency without the permission

6. the defendant shall work regularly at a lawful occupation unless of the court;
excused by the probation officer for schooling, training, or other 14. as directed by the probation officer, the defendant shall notify third
acceptable reasons; parties of risks that may be occasioned by the defendant’s criminal

7. the defendant shall notify the probation officer at least 10 days prior record or personal history or characteristics, and shall permit the
to any change in residence or employment; probation officer to make such notifications and to conform the

8. the defendant shall refrain from excessive use of alcohol and shall not defendant’s compliance with such notification requirement;
purchase, possess, use, distribute, or administer any narcotic or other IS. the defendant shall, upon release from any period of custody, report
controlled substance, or any paraphernalia related to such substances, to the probation officer within 72 hours;
except as prescribed by a physician; 16. and, for felony cases only: not possess a firearm, destructive device,

9. the defendant shall not frequent places where controlled substances or any other dangerous weapon.

 

 

 

 

are illegally sold, used, distributed or administered;

The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

 

CR-104 (11/04)

JUDGMENT & PROBATION/COMMITMENT ORDER

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USA vs. _ Ozine Bridgeforth Docket No.: CR00-1220-SVW

 

STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

The defendant shail pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15"") day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
applicable for offenses completed prior to April 24, 1996.

If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attomey’s Office. 18 U.S.C. §3613.

The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
§3563(a)(7).

Payments shall be applied in the following order:

1. Special assessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this sequence:
Private victims (individual and corporate),
Providers of compensation to private victims,
The United States as victim;
3. Fine;
4, Community restitution, pursuant to 18 U.S.C. §3663(c); and
5. Other penalties and costs.

SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
any line of credit without prior approval of the Probation Officer.

The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
business accounts, shall be disclosed to the Probation Officer upon request.

The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.

 

RETURN

I have executed the within Judgment and Commitment as follows:

 

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Defendant delivered on to

 

Defendant noted on appeal on

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined on

 

Defendant delivered on to

 

at

 

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

United States Marshal

By
Date Deputy Marshal

 

 

CERTIFICATE

| hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

 

 

 

FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

 

 

(Signed)
Defendant Date

 

 

U.S. Probation Officer/Designated Witness Date

 

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